1. The petition for a declaratory judgment under the act of 1945 (Ga. L. 1945, p. 137), alleging that there existed an actual controversy, in that the petitioner claimed a fee-simple title as remote grantee under a deed executed January 29, 1914, and that the defendants, as remote grantees under a quitclaim deed executed October 10, 1936, by the same common grantor, and by virtue of a clause in the deed executed January 29, 1914, reserving a perpetual right to remove sand from the land conveyed, for which the grantee and his successors were to be paid 10 cents per car, claimed title to the sand, the petition praying that the reservation clause be declared void as violative of the rule against perpetuities — was not subject to demurrer upon the ground that a proper case was not made under the statute or that the Superior Court of Taylor County, where the defendants resided and the suit was brought, was without jurisdiction because the land lies in Talbot County.
2. The reservation clause above referred to was a perpetual option to buy the sand at 10 cents per car, and was void because violative of the rule against perpetuities.
                       No. 15669. JANUARY 7, 1947.
J. E. Mathis brought suit in Taylor Superior Court against W. M., J. H., and R. L. Brown under the Declaratory Judgment Act. Ga. L. 1945, p. 137. The petition in substance alleged that the petitioner was the owner of a described tract of land containing 201 1/2 acres on lot No. 105 in the 16th district of Talbot County, Georgia, being the grantee in the last deed of a chain of title originating in a deed from Kirkpatrick Sand  Cement Company to J. C. Miller, dated January 29, 1914, and recorded July 10, 1926; and that the defendants claimed title to all of the sand on the described land by virtue of their being the grantees in the last deed in a chain of title originating in a quitclaim deed from Kirkpatrick Sand  Cement Company to R. L. Brown dated October 2, 1936, and recorded October 5, 1936. Thus all parties to this action claim under Kirkpatrick Sand  Cement Company as a common grantor, and the defendants contend that their title to the sand is valid because of a reservation clause in the above deed from the common grantor to J. C. Miller, which reservation follows immediately after the description of the land and is as follows: "Except the Kirkpatrick Sand and Cement Company reserves to itself, its successors and assigns, the right to mine and take from said land all sand together with the *Page 741 
necessary rights of going upon said land to secure same, prepare same for market, and to load same upon cars, to place roads, or side tracks thereon, and in the event it does take said sand, it is to pay J. C. Miller, his heirs, executors or assigns, ten cents per car for all cars of sand secured from said premises." The petition alleges that the clause attempting to reserve the right to the sand is void and ineffective for the reason that it is an option with no time limit fixed for its performance and violates the rule against perpetuities, that it is unilateral in that it obligates the grantee and his successors to sell the sand without imposing any obligation upon the grantor and its successors to buy or pay for the same, that if it ever had validity it is now void for the reason that 32 years have expired, and the option has not been exercised within a reasonable time as required by law, and for the further reason that the petitioner and his predecessors in title have owned and possessed the land under deeds purporting to convey to them title in fee simple without the reservation for a period of more than seven years. An abstract of title of both the petitioner and the defendants is attached to the petition, and it is alleged that there exists an actual controversy between the petitioner and the defendants as to their respective rights under the deed containing the reservation from the common grantor, that the claim of the defendants and their telling the public generally that they owned the sand rights are hindering and hampering the petitioner in the use of the said land, that the reservation clause is a cloud upon the petitioner's title and interferes with his selling, leasing or utilizing the land, in that it prevents the petitioner from making any trade or contract relating to the land or the sand thereon. The prayer is that the reservation in the deed from the common grantor dated January 29, 1914, be declared null and void ab initio, and if this prayer is not granted that the reservation be declared no longer effective because of the unreasonable delay in exercising the option contained therein; that the reservation be canceled and declared non-operative and of no effect; that the petitioner be declared to have a fee simple title to the described land subject only to any lease or contract that he may have made; that until this matter is finally disposed of by the court the defendants be restrained from changing the status of the property or interfering with the petitioner's possession; and for general relief. *Page 742 
The defendants jointly demurred generally to the petition upon the grounds: It alleges no cause of action either legal or equitable. It shows no meritorious controversy between the parties. It shows no title or interest of the petitioner in the subject matter of the alleged controversy but, on the contrary, shows that the petitioner has no interest or title to the same. This demurrer was overruled.
The defendants filed an answer admitting that they were residents of Taylor County and that there was an actual controversy as alleged in the petition, and denied the allegation that the outstanding chain of title under which the defendants claimed renders title to the land, in so far as the right to mine the sand is concerned, uncertain. The answer admitted the chain of title as shown by the abstract attached to the petition, and denied the allegations as to the invalidity of the reservation in the deed referred to in the petition, and denied that seven years had elapsed since the petitioner obtained his deed to the land, and admitted that the defendants hold a deed to the sand on the lot of land in question. By amendment the defendants alleged that the land in question was sandy and contained sand of good commercial value and was of no practical value for any other purpose than as sand for commercial purposes, that with the best known machinery and implements approximately 100 years would be required to mine and market the sand on the tract of land, and for this reason long term reservations are necessary and this fact was known to the petitioner when he purchased the land without the sand.
The petitioner filed a written motion to strike the answer and all amendments upon the ground that they set forth no meritorious defenses to the petition. This motion was sustained and the answer as amended stricken. Thereupon the judge entered judgment decreeing that the reservation in the deed from Kirkpatrick Sand Cement Company to J. C. Miller, dated January 29, 1914, was null and void ab initio and was without force and effect, that the petitioner has a fee simple title to the land described in the petition subject only to any lease or contracts that he himself may have made, and that the defendants have no interest in said land or in the sand on the land by reason of the reservation which is above declared void. The defendants were restrained from interfering with the petitioner in the possession and enjoyment of the *Page 743 
land. To this judgment the defendants excepted, assigning error also upon the judgment overruling their general demurrer to the petition and the judgment sustaining the petitioner's motion to dismiss the defendants' amended answer.
1. The general demurrer raises the question of the court's jurisdiction. Curtis v. College Park Lumber Co.,145 Ga. 601 (89 S.E. 680); Coleman v. Thomasson, 160 Ga. 81
(127 S.E. 129); Cone v. Davis, 179 Ga. 749
(177 S.E. 558). The statute under which the petition is brought (Ga. L. 1945, p. 137) provides in section 1 that the superior courts of the State shall have the power upon petition in cases of actual controversy to declare rights of any interested party petitioning for such declaration, and that such declaration shall have the force and effect of a final judgment or decree. Section 2 of the act empowers the court to maintain the status pending the adjudication of the questions by the grant of an injunction or other interlocutory extraordinary relief. Section 13 of the act declares that its purpose is to afford relief from uncertainty and insecurity with respect to rights, status, and other legal relief. The petition here clearly presents a controversy and one that affects the petitioner's right and title. It alleges a proper case for a declaratory judgment and was not subject to the general demurrer upon this ground. Although the suit is brought in Taylor County and the land involved is in Talbot County, the court was not without jurisdiction under the Constitution (Code, § 2-4302), providing that "Cases respecting titles to land shall be tried in the county where the land lies." This petition seeks cancellation of a reservation in a deed upon the ground that it is a cloud upon the petitioner's title, and this court has held that such a proceeding is in equity and must be tried in the county where the defendant resides as required by the Constitution (Code, § 2-4303). Saffold v. Scottish AmericanCo., 98 Ga. 785 (27 S.E. 208); Clayton v. Stetson,101 Ga. 634 (28 S.E. 983); Southern Title Guarantee Co. v.Lawshe, 137 Ga. 478 (73 S.E. 661); Babson v. McEachin,147 Ga. 143 (93 S.E. 292). The petition was not subject to the general demurrer, and the court did not err in overruling the same. *Page 744 
2. The exception to the dismissal of the amended answer and the exception to the final judgment involve the same legal question and will be dealt with together. Both of these exceptions will be controlled by a construction of the reservation clause in the deed dated January 29, 1914. If that clause is an unqualified reservation of title, then the above exceptions must be sustained. If, on the other hand, it is merely an option, neither exception can be sustained. It is settled law that an exception of an interest in land contained in a deed constitutes an estate in the land. Houser v. Christian,108 Ga. 469 (34 S.E. 126, 75 Am. St. R. 72); Davison v.Reynolds, 150 Ga. 182 (103 S.E. 248); Bosworth v.Nelson, 170 Ga. 279 (152 S.E. 575); Jones v. Trulock,172 Ga. 558 (158 S.E. 326). See also Grant v. Haymes,164 Ga. 371 (138 S.E. 892); McCaw v. Nelson, 168 Ga. 202
(147 S.E. 364). Such an exception in a deed is notice to the grantee and his successors. Code, § 38-114; Mitchell v. Hunt,185 Ga. 835 (196 S.E. 711); Brooke v. Dellinger, 193 Ga. 66
(17 S.E.2d 178). Neither possession of the surface nor non-user of the excepted mineral can forfeit or affect the retained title to the mineral. Tietjen v. Meldrim, 169 Ga. 678
(151 S.E. 349); O'Barr v. Duncan, 187 Ga. 642
(2 S.E.2d 82); Brooke v. Dellinger, supra. Had the reservation here stopped before including the provision that in the event the sand was moved, 10 cents per car for such sand would be paid to the grantee, his heirs and assigns, the decisions of this court inGrant v. Haymes, supra, McCaw v. Nelson, supra,Bosworth v. Nelson, supra, and Jones v. Trulock, supra, would require a ruling here that the clause was a reservation of title which was excepted from the grant under the deed and was assignable to the defendants as a corporeal estate or interest in the land. In that event the decision of this court in Brooke v.Dellinger, supra, would require a ruling here that the court erred in dismissing the amended answer and in rendering judgment declaring that the defendants had no title to the sand. But we are not permitted under the rule of law applicable to construction to thus mutilate a portion of the clause and to ignore the latter part providing for payment. When this portion is considered along with the other portion of the clause it takes on a different meaning. As pointed out in Grant v. Haymes, supra, under the common law there was a material difference between a reservation in a deed and an exception in a deed, *Page 745 
the latter carrying with it title, while the former implied merely a right to the use or to something to be produced by the land. It was there stated that since under our law a construction requires the ascertainment and giving effect to the intention of the parties the common law distinction between the two terms did not necessarily prevail. In ascertaining the intention of the parties as to the meaning of the reservation clause here under consideration, we consider the clause in its entirety. The first portion of that clause reserving to the grantor, its successors and assigns, the right to mine and remove the sand would under the decisions above cited, if standing alone, show an intention of the parties to reserve without condition the sand. However, in the same clause the parties stipulated that in the event the reserved right to mine and remove is exercised, then the grantee and his heirs and assigns must be paid therefor at the rate of 10 cents per car of sand, thus making it obvious that the parties intended that the reserved right be mainly a privilege and not title to the sand, and that its enjoyment would require payment therefor as stipulated in the latter portion of the clause. For the reasons stated the clause is construed to be less than a reservation of title.
Does the reservation clause meet the legal definition of an option? An option is an agreement conferring upon one a right to buy described property within a fixed period of time and for a stated price. Black v. Maddox, 104 Ga. 157 (30 S.E. 723);Hughes v. Holliday, 149 Ga. 147 (99 S.E. 301); Mattox v.West, 194 Ga. 310, 314 (21 S.E.2d 428). The clause is lacking in one particular, to wit, it contains no time limit within which the option may be exercised. Thus we have an agreement to purchase described sand at a definite price of 10 cents per car with no time limitation, and, hence, a perpetuity. Our Code, § 85-707, inhibits a perpetuity. It is there provided that "Limitations of estates may extend through any number of lives in being at the time when the limitations commence, and 21 years, and the usual period of gestation added thereafter. A limitation beyond that period the law terms a perpetuity, and forbids its creation. . ." If this clause, being as it is an option to buy land, is embraced in the limitations referred to in the above Code section, then it is plainly forbidden, since it extends beyond the period of time there stipulated. In Turner
v. Peacock, 153 Ga. 870 (113 S.E. 585), this court held *Page 746 
that the provision in the deed there involved, which authorized the grantee therein to purchase an additional 50 acres of land at a stated price but fixed no time limit within which the option must be exercised, was void because it violated the rule against perpetuities. From what has been said it follows that the reservation clause was an attempt to reserve to the grantor, its successors and assigns, a perpetual option to purchase the sand on the land described at the price of 10 cents per car, and constituted a direct violation of the rule against perpetuities as stated in Code, § 85-707, and was, therefore, void ab initio as held by the trial court. The defendants have no interest in the sand or land, and their answer claiming the same upon the basis of the reservation clause constitutes no defense, and the court did not err in dismissing the amended answer and entering judgment declaring the reservation clause void and the petitioner the owner in fee simple of the land in question.
Judgment affirmed. All the Justices concur, except Wyatt, J.,who dissents.